21-11298-lgb         Doc 33      Filed 08/24/21 Entered 08/24/21 12:57:55       Main Document
                                              Pg 1 of 2



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X

In re:                                                        Chapter 11

286 RIDER AVE ACQUISITION LLC,                                Case No: 21-11298-lgb

                                           Debtor.
----------------------------------------------------------X

        SECOND ORDER GRANTING EXTENSION OF TIME FOR THE
        DEBTOR TO FILE STATEMENT OF FINANCIAL AFFAIRS AND
     SCHEDULES OF ASSETS AND LIABILITIES AND OTHER DOCUMENTS

         UPON consideration of the motion (“Motion”)1 of 286 Rider Ave Acquisition

LLC (“Debtor”), the above-captioned Debtor and Debtor in possession, seeking entry

of an order extending the time within which the Debtor must file its list of 20

largest unsecured creditors, schedules of assets and liabilities, its statements of

financial affairs and lists of executory contracts and unexpired leases (collectively,

“Schedules”), in accordance with Bankruptcy Rule 1007(c); and the Court having

considered the presentations of counsel as reflected on the record of the hearing

held on August 26, 2021; and sufficient cause appearing therefor; and it appearing

that no further notice of the relief requested in the Motion is required; it is hereby

         ORDERED, that the time for the Debtor to file the Schedules is hereby

extended through and including the later of (i) fourteen (14) days after the entities

and persons subject to the Bankruptcy Rule 2004 Order comply with such order or

(ii) sixty (60) days, without prejudice to the Debtor’s rights to seek additional

extensions upon proper motion and for cause shown.


1Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in
the Motion.

{01113858.DOC;1 }
21-11298-lgb   Doc 33   Filed 08/24/21 Entered 08/24/21 12:57:55   Main Document
                                     Pg 2 of 2



DATED: New York, New York
        August 24, 2021

                                      /s/ Lisa G. Beckerman
                                      HONORABLE LISA G. BECKERMAN
                                      UNITED STATES BANKRUPTCY JUDGE




430862                            {01113858.DOC;1 }2
